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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division


 [UNDER SEAL],
                                                    SEALED COMPLAINT
       Relator Plaintiffs,


 V.



 [UNDER SEAL],                                    FILED UNDER SEAL
                                                    PURSUANT TO
       Defendants.                           31 U.S.C. § 3730(b)(2) & (3)

                                           JURY TRIAL DEMANDED




                              SEALED



   Do Not Place in Press Box or Enter on Publicly AccessibleSystem (PACER)
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               IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA
                           Norfolk Division
                                                       FLED
 United States of America
 and the Commonwealth of Virginia                   AUG 1 0 2018
 ex reL Erin Craig,
                                                CLERK. US DISTRICT COURT
                                                      NORFOLK. VA

 Plaintiffs,
                                              FILED UNDER SEAL
 vs.

 Scott Saffold, MD                                Pursuant to
 Chesapeake Bay ENT, P.C.                  31 U.S.C. § 3730(b)(2) & (3)


 Defendants.
                                              Jury Trial Demanded
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                                    COMPLAINT


 1.      Qui tarn Plaintiff Erin Craig (Relator), through her attorneys, brings this

 Complaint on behalf of the United States, and on her own behalf, pursuant to the

 federal False Claims Act, 31 U.S.C. § 3730 etseq.

 2.      Ms. Craig alleges that Dr. Saffold claims reimbursement for claiming

 unnecessary medical procedures:

      • Diagnostic endoscopy of the sphenoid sinus: A dangerous and complex
         diagnostic that involves puncturing patients' facial bones; and
      * Balloon sinuplasty: Using balloons to expand patients' sinuses by
         fracturing small bones surrounding the sinus cavities.

                       I.     Jurisdiction, Venue, and Parties

 3.      This Court has jurisdiction under 31 U.S.C. § 3732 and 28 U.S.C. § 1345.

 State law claim jurisdiction arises under 31 U.S.C. § 3732(b) (jurisdiction over

 state claims arising from the same transaction or occurrence as an action under

 the federal FCA), and 28 U.S.C. § 1367(a) (supplemental jurisdiction).

 4.      This Court has personal jurisdiction over Defendants because Defendants

 transact business and can be found in this district, and committed acts within this

 district that violate 31 U.S.C. § 3729 and 31 U.S.C. § 3732(a).

 5.      Upon information and belief, no jurisdictional bars apply to this action. 31

 U.S.C. § 3730(e); Va. Code Ann. § 8.01-216.3.
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 6.    Venue is proper in this district under 31 U.S.C. § 3732(a) and 28 U.S.C.

 §1391(b) and (c) because Defendant resides and/or transacts business in this

 district and has committed acts within this district that violate 31 U.S.C. § 3729.

 Section 3732(a) further provides for nationwide service of process.

 7.    Relator has complied with all procedural requirements of 31 U.S.C.

 §3730(b)(2).

 8.    Relator Erin Craig, B.A. (Mathematics), M.S. (Data Science), works as a

 Data Scientist and is involved with using electronic health records to improve

 healthcare and hospital care. Her work investigating Medicare fraud and

 otolaryngology frauds has exposed her to the information about the medical

 procedures discussed below.

 9.    With respect to allegations made upon information and belief, Ms. Craig

 has, based upon her knowledge, data, and experience, a reasoned factual basis to

 make the allegations but lacks complete details of them. While Ms. Craig has

 significant evidence of the fraud alleged herein (the details of which follow),

 much of the documentary evidence necessary to prove the allegations in this

 Complaint is in the possession of the Defendants, the United States, or the

 Commonwealth of Virginia.
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 10.   Defendant Scott Saffold, MD, NPI 1801863162 , practices medicine in

 Belhaven and Virginia Beach, Virginia. He is Board Certified in Otolaryngology.

 11.   Defendant Saffold enrolled in the Medicare Program and it is paid in

 excess of a $600,000 dollars per year in Medicare Part B payments.

 12.   Defendant Chesapeake Bay ENT, P.C. is an active Virginia Corporation

 headquartered in Virginia Beach, Virginia, and does business in Belhaven,

 Franklin, Virginia Beach, Suffolk, and Churchland, Virginia.

 13.   On information and belief, one or both Defendants agreed to comply with

 Virginia Medicaid program.

           II.    The False Claims Acts, Medicare and Medicaid Acts

                                 A.    False Claims Acts


 14.   The Federal False Claims Act prohibits the submission of false or

 fraudulent claims and false statements so as to obtain or keep federal money. It

 provides, in pertinent part:

       (1) In general.— Subject to paragraph (2), any person who—
         (A) knowingly presents, or causes to be presented, a false or
       fraudulent claim for payment or approval;
         (B) knowingly makes, uses, or causes to be made or used, a false
       record or statement material to a false or firaudulent claim;
                   *   *   *


       is liable to the United States Government for a civil penalty of not
       less than $5,000 and not more than $10,000, as adjusted by the
       Federal Civil Penalties Inflation Adjustment Act of 1990 ..., plus 3
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       times the amount of damages which the Government sustains
      because of the act of that person.
 31 U.S.C.§ 3729(a)(1).

  15.   Under the False Claims Act, a private person may sue in federal district

 court for him/herself and for the United States and may share in any recovery. 31

 U.S.C. § 3730(b). That private person is a relator, and the action that the relator

 brings is called a qui tarn action.

  16.   Under the Federal Civil Penalties Inflation Adjustment Act of 1990, as

 amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461

 (notes), and 64 Fed. Reg. 47099,47103 (1999), the civil penalties were adjusted

 from $ 5,500 to $ 11,000 for violations occurring on or after September 29, 1999.

 For violations that occurred after November 1, 2015, Department of Justice (DOJ)

 announced increased penalties to between $10,781 and $21,562 per fraudulent

 claim. ^

 17.    The Commonwealth of Virginia patterned the Virginia Fraud Against

 Taxpayers Act on the federal statutory scheme. The requirements for state

 liability are substantially the same as for federal liability. Va. Code Ann. Art 19.1,

 § 8.01-216.1 etseq.



        httDs://www.federalreaister.gov/documents/2017/02/03/2017-01306/civil-monetarv-
 Denalties-inflation-adiustment-For-2017
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                              B.    Medicare and Medicaid


 18.   Medicare, enacted in 1965 under Title XVIII of the Social Security Act, is a

 third-party reimbursement program that underwrites medical expenses of the

 elderly and the disabled. 42 U.S.C.§§ 1395 et seq. Medicare reimbursements are

 paid from the federal Supplementary Medical Insurance Trust Fund.

 19.   Medicare Part B generally covers physician services, including medical and

 surgical treatment and outpatient treatment and diagnosis. Part B, 42 U.S.C. §§

 1395j et seq.\ 42 U.S.C. §13951 (payment of benefits). The Medicare claims in

 this case primarily arise under Medicare Part B.

 20.   Medicaid is a medical assistance program for indigent and other needy

 people that is financed by joint federal and state funding and is administered by

 the states according to federal regulations, oversight, and enforcement. 42 U.S.C.

 §§ 1396 et seq. Each state implements its version of Medicaid according to a

 State Plan approved by HHS. Within broad federal regulatory and policy

 guidelines {see 42 C.F.R. § 430 et seq., and CMS publications), the states

 determine who is Medicaid-eligible, what services are covered, and how much to

 reimburse healthcare providers. The states, through intermediaries, also receive

 healthcare provider claims for program reimbursements, evaluate those claims.
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 make payments to healthcare providers, and present the claims to HHS/CMS for

 reimbursement of the federal government's share.

 21.   Physicians must enroll in the Medicare and Medicaid programs to be

 eligible to receive payment for covered services provided to program

 beneficiaries. 42 C.F.R. § 424.505.

 22.   Virginia's Department of Medicaid Assistance Services ("DMAS")

 administers the state's Medicaid program. Physicians must enroll in the state's

 Medicaid program to be eligible to receive Medicaid payments.

 23.   CMS requires that all claims for physician services be submitted on a form

 CMS-1500 (Health Insurance Claim Form) ("Form 1500") or its electronic

 equivalent. 42 C.F.R. 424.32 (Basic requirements for all claims).

 24.   At all times relevant to this* action, Defendants submitted, or caused to be

 submitted, the electronic equivalent of Form 1500 to CMS and to Virginia's

 DMAS for reimbursement for services.


 25.   Form 1500 requires the submitting healthcare provider to include various

 fields of information prior to reimbursement, including: the date(s) of service; a

 code for the service(s) provided known as a "Current Procedural Terminology

 Code" or "CPT Code"); and the rendering healthcare provider's national

 identification number ("National Provider Identifier" or "NPI") and signature.
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  26.   According to Form 1500's instructions, a provider's signature certifies

  "that services shown on [the Form 1500] were medically indicated and necessary

  for the health of the patient and were personally furnished by [the provider] or

  were furnished incident to [his/her] professional service by [his/her] employee

  under [his/her] immediate personal supervision."

  27.   Providers, such as Defendants, submit claims to Medicare by transmitting

  them to a private carrier or a Medicare Administrative Contractor ("MAC"),

  which processes the claims on behalf of HHS/CMS.

  28.   All healthcare providers that submit claims electronically to CMS or to

  CMS MACs, must certify in their apphcation that they "will submit claims that

  are accurate, complete, and truthful," and must acknowledge that "all claims will

  be paid firom Federal funds, that the submission of such claims is a claim for

  payment under the Medicare program, and that anyone who misrepresents or

  falsifies or causes to be misrepresented or falsified any record or other

  information relating to that claim that is required pursuant to this agreement may,

  upon conviction, be subject to a fine and/or imprisonment under applicable

  Federal law." See Medicare Claims Processing Manual, § 30.2.A.

  29.   Medicare permits reimbursement only for medical treatments which are

  "reasonable and necessary for the diagnosis and treatment of illness or injury     "
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  42 U.S.C. § 1395y(a)(l)(A). See also 42 C.RR. § 411.15(k)(l). Although the

   Secretary may issue National Coverage Determinations to define what services

   are considered reasonable and necessary, none has been issued for balloon

   sinuplasty 42 U.S.C. § 1395fF(f)(l)(B). If there is no applicable national coverage

   determination, a Medicare contractor may issue a "local coverage determination"

   stating whether an item or service is covered within that contractor's jurisdiction.

  Id. § 1395ff(f)(2)(B). Where there is no applicable national or local coverage

  determination, Medicare contractors "make individual claim determinations ...

  based on the individual's particular factual situation." 68 Fed. Reg. 63,692,

  63,693 (Nov. 7,2003). Nonetheless, procedures may be considered unreasonable

  or unnecessary even without a national coverage determination.

  30.       Courts have looked to the CMS Medicare Program Integrity Manual, and

  its elucidation of what is "reasonable and necessary." It includes at § 13.3 among

  these requirements, that the service is:

        •   Safe and effective;
        • Furnished in accordance with accepted standards of medical practice for
            the diagnosis or treatment of the patient's condition or to improve the
            function of a malformed body member;
        • Furnished in a setting appropriate to the patient's medical needs and
            condition;
        • One that meets, but does not exceed, the patient's medical need; and
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        • At least as beneficial as an existing and available medically appropriate
           alternative.

  31.      Additionally, § 13.7.1 governs "Evidence Supporting LCDs." While § 13.3

  does not specifically link to § 13.7.1, it looks to general acceptance by the

  medical community (standard of practice), as supported by sound medical

  evidence based on:


        • Scientific data or research studies published in peer-reviewed medical
          journals;
        • Consensus of expert medical opinion (i.e., recognized authorities in the
           field); or
        • Medical opinion derived from consultations with medical associations or
           other health care experts.
  32.      In addition to medical necessity and reasonableness, healthcare providers

  who submit claims to the Medicaid Program must certify, among other things,

  that all statements in the claim are true, accurate, and complete to the best of the

  provider's knowledge; that no material fact has been omitted; that the provider is

  bound by all rules, regulations, policies, standards, fee codes and procedures.

  33.     When submitting a claim for reimbursement, the claimant must provide

  documentation that supports the claim. Appropriate documentation typically

  involves correctly coding certain services to enable the Government to reimburse

  the healthcare provider at the proper rate.
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  34.    "Upcoding" is an act of committing fraud by knowingly and intentionally

  submitting a claim under an inappropriate diagnostic or procedural code to obtain

  a higher rate of reimbursement. Upcoding also occurs by changing the procedure

  code to a code that pays a higher rate of reimbursement. Upcoding can harm

  patients medically and financially. Fabricated medical histories in patients' charts

  and medical records can forever skew diagnoses and treatment. This may cause a

  patient to undergo additional diagnostic exams or even cause a subsequent

  healthcare provider to perform a procedure that might be unnecessary were the

  patient viewed as lower risk. In addition, a patient may be declined or charged

  more for long-term care or life insurance due to these false diagnoses.

   35.   Under Medicare and Medicaid rules and policies, healthcare providers must

   contemporaneously create and maintain accurate medical records to support the

  providers' claims for reimbursement. See e.g., CMS MLN Matters Number:

   SE1022 ("Providers/suppliers should maintain a medical record for each

   Medicare beneficiary that is their patient. Remember that medical records must be

  accurately written, promptly completed, accessible, properly filed and retained.")

                          III.   Otolaryngology Overview

   36.   Otolaryngology is a medical specialty focusing on the care and treatment of

  the ear, nose, and throat. Otolaryngologists are trained in the medical and surgical



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  management and treatment of patients with diseases and disorders of the ear,

  nose, throat (ENT), and related structures of the head and neck. They are

  commonly referred to as ENT physicians. Otolaryngologists whose practices

  focus on patients with disorders of the nose, sinuses, and skullbase are also

  known as rhinologists.

  37.   Patients who seek assistance from otolaryngologists typically know their

  symptoms, which often relate to sinus and nasal airflow and drainage, and facial

  pain. Similar to other physicians, otolaryngologists ask their patients questions

  and can make some decisions based on patient responses. The AMA and

  Medicare call this "evaluation and management" (E/M) and reference it as CPT

  99201 - 99215. Sometimes physicians may supervise nonphysician practitioner

  for E/M, Medicare Claims Manual, Ch. 12, § 30.6.4.

  38.   Because sinuses are hidden, patients are unfamiliar with their nasal

  anatomy and their E/M responses rarely allow otolaryngologists to sufficiently

  evaluate and diagnose these patients.

  39.   For these reasons, when a patient presents sinus-related symptoms,

  otolaryngologists frequently perform a nasal endoscopy, CPT 31231, a routine

  diagnostic procedure that allows for visual inspection of nasal anatomy and

  pathways to the sinuses. Otolaryngologists typically perform this in the office.




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   following application of a decongestant and/or local anesthetic, with an

   endoscope, a thin tube inserted through a nostril and into a patient's nasal

   airways.

   40.     Another increasingly common diagnostic available to otolaryngologists is a

   CT scan, such as CPT 70486.


         IV.   False Claims for CPT 31235—Puncturing Patients' Facial Bones

   41.     Defendant files many claims for CPT 31235, a "nasal/sinus endoscopy,

  diagnostic with sphenoid sinusoscopy [via puncture of sphenoidal face or

   cannulation of ostium] complicated."
                                                                          Sinuses
   42.     Unlike CPT 31231, which involves

   looking through a nostril, the CPT 31235
                                                                        -Ethmoidat
                                                                 jTrf     sinus
  diagnostic requires a physician to surgically                  ^sphenoidai
                                                                          sinus



  Open a hole through the front wall of the

  sphenoidal sinus, then insert the endoscope through the "puncture" made for that

  diagnostic, and into a patient's sinus.

  43.      The American Academy of Otolaryngology—Head and Neck Surgery

  clarifies that the CPT 31235 diagnostic procedure requires puncturing a hole

  through a patient'sfacial bones and into the sinus at the time ofthe endoscopy.

           Reimbursement; There have been a number of member inquiries on
           the correct usage of CPT® codes 31233 Nasal/sinus endoscopy.


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         diagnostic with maxillary sinusoscopy (via inferior meatus or canine
         fossa puncture) and 31235 Nasal/sinus endoscopy, diagnostic with
         sphenoid sinusoscopy (via puncture of sphenoidal face or
         cannulation of ostium). Some who perform endoscopic exams after
         the postoperative global period to view the interior of maxillary or
         sphenoid sinuses through existing surgically created patent
         sinusotomies are reporting 31233 or 31235 (or, perhaps both).
         When the physician performs endoscopic exams postoperatively (to
         view the interior of maxillary or sphenoid sinuses through existing
         surgically created patent sinusotomies), the Academy's position is
         that only CPT code 31231 Nasal/sinus endoscopy, diagnostic,
         unilateral or bilateral (separate procedure) is appropriate. Our
         rationale is that CPT codes 31233 and 31235 require a puncture or
         trocar cannulation'' prior to placing the scope into the sinus. CPT
         code 31231 is bilateral while the CPT codes 31233 and 31235 are
         unilateral. The use of CPT code 31233 or 31235 to report diagnostic
         sinus endoscopy performed via an existing and patent opening into
         the maxillary or sphenoid sinus is incorrect.

  http://www.entnet.org/?q=node/679 [Emphasis supplied .


  44.    Observing and diagnosing sinuses by puncturing a patient's facial bones

  (CPT 31235) risks patient harm and is rarely necessary because diagnosis can be

  made with a CT scan, or with an endoscope inserted through a patient's nostril

  (CPT 31231).^




          A cannula is "a small tube for insertion into a body cavity, duct, or vessel."
  https://www.iTieiTiam-webster.eom/dictionarv/cannula#medicalDictionarv. A trocar is "a sharp-
  pointed surgical instrument fitted with a cannula and used especially to insert the cannula into a
  body cavity as a drainage outlet." https://www.meiTiam-webster.com/dictionarv/trocar.
  ^      Ifaprior procedure left an opening, then visualization ofthe maxillary sinus through
  the pre-existing puncture is billed using CPT 3123j. (not 31235).



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                               A. CPT 31235 is dangerous.

  45.      The sphenoid sinus is surrounded by vital structures including the dura

  (outermost membrane enveloping the brain), pituitary gland, optic nerve,

  pterygoid canal and nerve, internal carotid artery and the cavernous sinus with its

  associated cranial nerves.


  46.      On information and belief, there is a 41% or more rate of protrusion of the

   internal carotid artery into the sphenoid sinus and a 30% or more rate of

  dehiscence of its bony covering. "Dehiscence" means lack of a bony covering,

  making the artery more susceptible to traumatic rupture by an instrument.

   Damaging this structure in an office setting would be uniformly fatal.

  47.      The optic nerve is on the same side as the carotid artery. Optic nerve

  damage causes blindness. The pituitary gland is on the other side of the sphenoid

  sinus, damaging it could cause massive bleeding, cerebrospinal fluid leak and/or

  loss of function of the pituitary gland. And the brain (dura) sits on the roof of the

  sinus.


  48.      Specialized equipment is necessary to widen the natural ostium (drainage

  hole) of the sphenoid sinus, and great care and training is required to know in

  exactly which direction the opening should be expanded so as to avoid damage to




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   vital structures in and around the sphenoid sinus/ The ability to control what

   may be massive bleeding from the sphenopalatine artery, coursing just below the

   natural ostium, is absolutely necessary.

                            B. CPT 31235 is rarely necessary.

   49.   On information and belief, the sphenoid sinus is infrequently diseased.

   50.   Additionally, on information and belief, sphenoid pathology, if symptoms

   indicate, may safely be diagnosed using CT imaging and nasal endoscopy

   (viewing the outside of the natural ostium to determine whether pus, polyps, etc.

  are emanating from the natural ostium), without instrumenting and entering the

  sinus.^ CT scanning can give all of the necessary information non-invasively.
  Given the availability of CT scanning in Virginia, there is virtually no need to

  ever puncture a sinus to look into it from a diagnostic perspective.

  51.    It appears Dr. Saffold's patients receive CT scans. CMS reveals Medicare

  part B providers, including diagnostic radiologists, seen by patients in the 30 days




         On information and belief, the sphenoid sinus is classically accessed with a 4 mm
  diameter endoscope. The orbit (hole) must be larger than the endoscope, often >7 mm (.27 in).
  A pencil eraser is approximately 6 mm; a collar button approximately 7 mm.
  '      "A high index ofclinical suspicion, routine office nasal endoscopy and radiological
  imaging are central to making an accurate and timely diagnosis of isolated sphenoid sinus
  pathology." https://www.ncbi.nlm.nih.aov/pubmed/18242904/. [emphasis supplied]



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  before and after they see Saffold. Relator infers - but does not know - that

  diagnostic radiologists conducted CT scans on the shared patients.^

        C. Dr. Saffold claims too many 31235 diagnostics, including duplicates

  52.     More than 10% of Dr. Saffold's diagnostic procedures are claimed under

  31235.


  53.     Significantly, Dr. Saffold claims this procedure more than once per patient.

  During the three years 2014 through 2016 CMS data shows it paid for

  approximately 120 duplicate procedures at a cost of $38,680.

                 total           total       total      duplicate                  dup pmt
          year   oavment     procedures     patients   orocedures      $ / oroc       total
          2014    32,105         100            29        71           $ 321      $ 22,795
          2015    19,250          59            24        35              326       11,419
          2016    9.581           30            16         14             319        4,466
                  60,936                                 120                      $ 38,680

  54.     The above chart likely understates duplicate procedures because it does not

  identify patients who receive a first procedure the preceding year or the following

  year.




  ^       For example, in 2015, his patients saw in the 30 days before or after his services,
  radiologists: James Mosure, NPI 1295829067; William Marshal, NPI 1477533107; and
  Valentine Curran NPI 1568432672 (preceding only, not following). Most of these patients were
  shared with Dr. Mosure.




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  55.   With respect to the medical necessity for CPT 31235 and customary

  rhinological practices in and around Virginia, Relator concluded:

        • The lack of other otolaryngologists' claims under this code indicates no
          "cluster" of symptoms or diagnoses that would suggest Defendant's
          volume of CPT 31235 procedures are medically reasonable or
            necessary.

        • The lack of other otolaryngologists' claims indicate it is medically
          unreasonable and inappropriate to routinely and invasively puncture a
          patient's facial bones for a routine diagnostic,
        • The lack of other otolaryngologists' claims suggests it is usually
          medically unreasonable and inappropriate to puncture this sinus to look
          into it from a diagnostic perspective.
  56.   Relator estimates that many of Defendant's CPT 31235 claims are false.

  57.   Viewing Defendant's Medicare 31235 claim volume, fourth highest in the

  nation, and without knowing more, a layperson might conclude he is a specialist

  in the sphenoid sinus. However, there is no such specialty or subspecialty in this

  sinus, or this procedure.

  58.   There are certain procedures, such as new transplant techniques, in which

  patients might seek a particular physician for a particular procedure. Such

  renowned physicians might draw patients from all over the country. This is not

  such a procedure, and Defendant is not such a physician. No patient's awareness

  of their symptoms enables self diagnoses indicating the necessity for this

  particular procedure.



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   59.    Similarly, the volume of this procedure also suggests the possibility of

   referrals from other otolaryngologists. However, Relator's investigation and

   analysis of the Medicare shared patient data sets has determined that Defendant's

   31235 claims are not generated from other otolaryngologists' patient referrals.

               V.      False Claims for Balloon Sinus Dilation (Sinuplasty)

  60.     A balloon sinus dilation, also known as a sinuplasty, is an office-based

  approach to improving sinus airflow and drainage by expanding sinus pathways.'

  The doctor threads a small balloon catheter through the nostril and into the sinus

  cavity, inflates the balloon to enlarge the sinus opening, deflates the balloon and

  removes it.

  61.     Balloon dilations are not a panacea for all sinus problems. Patients require

  surgeries for sinus problems that cannot be resolved with balloon dilation. These

  problems include deviated septums, nasal polyps, enlarged turbinates and others.

  These are described below. Routine diagnostics, such as endoscopies (CPT




  '       CPT coding depends on the sinus dilated:
          31295 Nasal/sinus endoscopy, surgical; with dilation of maxillary sinus ostium
          {e.g., balloon dilation), transnasal or via canine fossa.
          31296 Nasal/sinus endoscopy, surgical; with dilation of frontal sinus ostium
          (e.g., balloon dilation).
      • 31297 Nasal/sinus endoscopy, surgical; with dilation of sphenoid sinus ostium
         {e.g., balloon dilation).




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  31231) and CT scans (CPT 70486), disclose these conditions. ^

  62.      Even when a balloon dilation might be appropriate, surgeons cannot

  perform balloon dilations when a patient's nasal passages are so blocked that the

  surgeon cannot even insert a balloon. Some common blockages include nasal

  polyps, deviated septums, aerated middle turbinates (concha bullosa), and large

  inferior turbinates. These are described below.

                         A.     Conditions Not Addressed with Sinuplasty

  /.       Deviated Septums

  63.      The nasal septum is the dividing wall that runs down the middle of the

  nose, separating the two nasal cavities, each of which ends in a nostril Doctors

  sometimes straighten a crooked (deviated) nasal septum to improve breathing, or

  to improve visualization of the nasal interior for treatment of polyps,

  inflammation, tumors, or bleeding.^


  ^        The American Academy of Otolaryngology—Head and Neck Surgery Foundation
  (AAO-HNSF) Clinical Consensus Statement: Balloon Dilation of the Sinuses, which ARS
  endorsed, was published in the AAO-HNSF journal, Otolaryngology-Head and Neck Surgery,
  on February I, 2018. httDs://www.americaii-rhinolouic.oru/ps balloon ccs. see
  Clinical Consensus Statement: Balloon Dilation of the Sinuses,
  http://iournals.saiieDub.eom/doi/full/l 0.1177/0194599817750086.
           Septoplasty corrects deformities of the partition between the two sides of the nose (the
  septum). Common CPT codes include:
           30520 Septoplasty or submucous resection, with or without cartilage scoring,
           contouring or replacement with graft
        • 30620 Septal or other intranasal dermatoplasty (does not include obtaining
          graft).



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  64.   For some patients with deviated septums, a balloon dilation may be

  impossible because the surgeon cannot thread the balloon past the septum.

  65.   But even when a balloon can be inserted past a deviated septum, it may be

  the wrong course of treatment (medically unreasonable and unnecessary), and

  surgery may be required to repair the deviation.




  66.   Nasal polyps are soft, lack sensation, and are invisible



  67.   On information and belief, they occur in 19% to 36% of patients with

  chronic rhinosinusitis. Patients rarely know they have nasal polyps so and so they

  do not report them during E/M interviews. For some patients, multiple polyps or a

  large polyp may block nasal passages and sinuses so much that a balloon cannot

  be inserted. Even when a balloon can be inserted, it may be the wrong course of

  treatment, or just an adjunct to a surgical procedure. In addition, polyps may

  themselves widen the opening of a sinus and cause obstruction. A balloon dilation

  would have no effect in that instance. Only removal of the polyp(s) would

  overcome the obstruction. Because balloons do not resolve issues related to

  polyps, surgery may still be required to remove them.




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  3.    Enlarged Turbinates

  68.   Three turbinates on each side of the nose help clean and humidify air as it

  moves through the nose. But excessively large turbinates block the sinuses.

  Turbinate reduction surgery seeks to correct nasal obstruction by reducing the

  turbinate size and thereby decreasing airway resistance while preserving the

  natural function of the turbinates.

  69.   On information and belief, a majority of patients with chronic sinusitis will

  have enlarged turbinates and so will need turbinate reduction.

  70.   While different doctors take different approaches to turbinate reduction,

  balloons do not reduce turbinates.


  4.    Other circumstances, and risk ofpatient harm

  11.   Other circumstances in which balloon dilation is not medically necessary

  include:


             • Patients with extensive scarring of their sinus openings.
             • Prior surgery to surgically expand sinus openings by removal of
                tissue

             • A sinonasal tumor causing the obstruction


  10
        Common CPT codes include:
        30140 Resect inferior turbinate
        30802 Ablate inf turbinate submuc
        30130 Excise inferior turbinate




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  72.    Balloon dilation is generally safe. Under certain circumstances, however, it

  may pose a risk to patients. Such circumstances include when a prior surgery has

  altered the anatomy and exposed vital structures; or when there is unusual

  anatomy, such as a dehiscent carotid artery in the sphenoid sinus hemiating into

  the sinus, thereby risking its puncture when performing a balloon dilation.

        B.      Defendants ignore patients' polyps, septums, and turbinates.

  73.    Although Dr. Saffold files many Medicare claims for balloon sinus

  dilations, far more than anyone in Virginia, and nationwide number three in 2016,

  and number four in 2015, he has not filed claims for the surgical treatment of

  nasal polyps, deviated septums, or enlarged turbinates.

  74.    Research supports that 25-30% of chronic rhinosinusitis patients (the

  patients who seek relief from an otolaryngologist) have symptomatic polyps. But

  Dr. Saffold's claims show he does not surgically treat his patients' polyps. ''

  75.    With respect to the frequency of polyps that would block a balloon dilation,

  or that would require treatment to improve airflow and drainage, there is no data




   "     "[Balloon dilation] can be appropriate as an adjunctive procedure to sinus surgery in
  patients with chronic sinusitis without nasal polyps."" Emphasis supplied. Clinical Consensus
  Statement: Balloon Dilation of the Sinuses.
  http://ioumals.saizepub.com/doi/full/10.1177/0194599817750086




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  indicating any unique conditions in Virginia explaining Defendants' patients'
                        I o

  absence of polyps.

  Similarly, there is no data showing any purported absence of deviated septums

  and enlarged turbinates in Virginia.

                          C.      Defendants' Duplicate Procedures

  76.    Paid Medicare part B claims in 2014, 2015 and 2016 show patients who

  receive the procedures more than once.

                total             total     total        duplicate                 dup pmt
         year   oavment        Drocedures   patients     Drocedures   $ / oroc     total
         2014   $ 56,233          63         39            24           893      $ 21,422
         2014    106,913          62         39            23         1,724        39,661
         2014     49.811          59         36            23           844        19.418
                $212,957                                   70                    $ 80,501

         2015      95,254         114        66            48           836          40,107
         2015     191,286         114        65            49         1,678          82,219
         2015      94.064         112        65            47           840          39.473
                $380,604                                  144                      $161,800

         2016     111,248         132        78            54           842          45,511
         2016     226,356         132        78            54         1,715          92,600
         2016     111.401         132        78            54           844          45.573
                $449,005                                  162                      $183,684

  77.    This chart probably understates duplicates because it does not identify

  patients whose procedures overlap two years.


  12
         There are geographic variations in some rhinological procedures. For example, Florida
  has more mold, and other areas may be especially dry during the winter. These conditions may
  impact patients' symptoms and treatments. But there are no conditions unique to Virginia that
  would impact patients' nasal anatomies, or their polyps, septums, or turbinates.



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  78.    For each of the three balloon procedures, 31295, 31296, and 31297, which

  address distinct sinuses, Defendant Saffold appears to perform the set of

  procedures a second time for patients in the same year. This is unlike any other

  Medicare provider in the country.

  79.    In comparison to others' claims. Defendant's claims suggest his patients

  require treatments that differ wildly from national norms and from Virginia's

  professional norms and standards of care. This is because few patients of other

  physicians who claim balloon procedures (CPTs 31295, 31296, and 31297)

  require a second set of procedure within months of the first set.

  80.    While Relator knows of no studies or guidelines on repeating these

  procedures, the effectiveness of balloon sinuplasty is measured by the "patency

  rate," the likelihood that the nasal passage will remain open (a more open nasal

  passage correlates with greater nasal airflow). Some studies show up to a 98%

  patency rate after dilation.In contrast, Dr. Saffold's claims reflect a near 0%




        "1.3% revision" (meaning 98.7% no revision) httDs://www.ncbi.nlm.nih.gov/pubmed/24598043
  "Outcomes out to 2 years ... success is 97.5%" https://www.ncbi.nlm.nih.aov/Dubmed/26228589
  "Overall, BSD [balloon sinus dilation] instruments were successful in dilating 97.6% of
  targeted sinuses" httDs://www.ncbi.nlm.nih.gov/pubmed/27325205
  Patency rates 90% - 98% hUps://www.ncbi.nlm.nih.gov/pmc/aiticles/PMC3738804/
  Patency 92% (for patients without poIvps") https://www.ncbi.nlm.nih.gov/pubmed/25457065



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  patency rate. This suggests that the first set of procedures were:

               improperly performed,
               not medically reasonable, or
               not medically necessary.


               D.     Defendant's claims appear to be revenue-driven

  81.   The implicit "facility fee" built into the procedures' reimbursement makes

  ballooning more lucrative for Dr. Saffold than for otolaryngologists who address

  their patients' septums, polyps, turbinates, or other issues that require surgery.

  This is because Dr. Saffold need not incur the substantial expenses associated

  with a surgical practice, even though "non-facility" reimbursement rates take this

  expense into account when reimbursing his CPT 31295, 31296, and 31297

  claims.


  82.   The difference between facility (such as a hospital) and non-facility rates

  reflects the implicit "practice expense" incurred by surgeons who incur

  substantial expenses for establishing and maintaining equipment and supplies,

  and for providing clinical staff     For example, the facility rates, even in 2017, are

  far less than what CMS paid Dr. Saffold.


        This is also referred to as the "practice expense." https://www.cms.gov/Outreach-and-
  Education/Medicare-Learnine-Network-
  MLN/MLNProducts/downloads/MedcrePhvsFeeSchedfctsht.Ddf




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                                       2017                2016
                                       Facility            Saffold
                         CPT           Rate                Pavment
                         31295         $168            $     843
                         31296           202                1,715
                         31297           165                  844
                         Aggregate     $535            $ 6,215

   83.    On information and belief, generally, surgeons must maintain level II

   compliance (and incur compliance costs) for anything more than a simple skin

  excision with minimal sedation and complete responsiveness of the patient.'^Any

  combination of sedative and narcotic, as is often used in office-based surgical

  procedures performed by otolaryngologists (who address problems that Dr.

  Saffold ignores), would likely result in level II surgery overhead and expenses.'^
  84.     Because Defendant does not perform the ancillary surgical procedures, he

  avoids the substantial expense of developing and maintaining a level II surgery

  practice.


         httDs://www.cms.uov/apps/phvsician-fee-schedule/search/search-
   results.aspx?Y= 1&T=0&HT=0&CT=3&H 1=31295&M=5
           "Multiple studies have now evaluated SOD of the sinuses under local anesthetic alone"
   footnotes omitted. http://ioumais.sa^cpub.com/doi/full/10.1177/0194599817750086.
           The American Society of Anesthesiologists (ASA) defines the various levels of
  anesthesia (sedation) as follows:
         Level 1 - Minimal sedation (anxiolysis) A drug-induced state during which patients
  respond normally to verbal commands. Although cognitive function and physical coordination
  may be impaired, airway reflexes, and ventilatory and cardiovascular functions are unaffected.
         Level 2 —Moderate sedation ("Conscious Sedation") A drug-induced depression of
  consciousness during which patients respond purposefully to verbal commands, either alone or
  accompanied by light tactile stimulation. No interventions are required to maintain a patent
  airway, and spontaneous ventilation is adequate. Cardiovascular function is usually maintained.



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   VL     Relator is an Original Source and Uncovered the Fraudulent Conduct

  85.     The allegations or transactions herein were not publicly disclosed. Relator

  is an original source of the information on which their allegations are based

  within the meaning of the FCA and the Virginia Fraud Against Taxpayers Act. To

  the extent there were any qualifying public disclosures, Relator's allegations

  materially add to any information contained in any such pubhc disclosures.

  86.     The Centers for Medicare and Medicaid Services (CMS) disclose hundreds

  of databases. Some are available online and others may be ordered from CMS.

  https://data.cms.gov/

  87.     CMS disclosed data through the "Medicare Provider Utilization and

  Payment Data: Physician and Other Supplier Public Use File." This data is based

  on information from CMS's National Claims History Standard Analytic Files. It

  contains 100% fmal-action physician/supplier Part B non-institutional line items
                                              •   18
  for the Medicare fee-for-service population.

  88.     Each year's PUF database contains more than 242 million entries relating

  to a single year's Medicare Part B claims. However, this raw data does not reveal

  the alleged frauds. In particular:


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         http://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
  Reports/Medicare-Provider-Charge-Data/Physician-and-Other-Supplier.html as of October 10,
  2014.




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        i.   It does not compare providers by amounts billed, amounts paid,
             procedures performed, or otherwise.
        ii. It does not disclose medical relationships between procedures.
        iii. It does not reveal procedures not performed that should have been
             performed
        iv. It does not reveal dangerous procedures for which there are less
            dangerous alternative approaches (such as CT scans).
  89.    Relator's knowledge of the relationship between the particular medical

  procedures and diagnostics discussed herein gives her the knowledge, skills, and

  experience to analyze Defendants' and others' Medicare claims data and to make

  the allegations in this Complaint.

  90.        For certain analyses Relator used professional knowledge and skills to

  guide the selection and aggregation of certain codes (for example 31295, 31296,

  31297) for the statistical analyses of these code aggregates. Then, using these

  figures—^which were not revealed by CMS— and based on analysis and synthesis

  of millions of records—^applied her knowledge, skills, and experience to what the

  data revealed, to what it did not reveal.

  91.    Data on which Relator based her analysis also included "Shared Patient

  Data Sets," which CMS has released for 2009 through 2016, in 30-, 60-, 90- and

  180-day intervals. This is an even more voluminous data set. For example, one




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  database (30 days) for a single year (2014) contained 55,779,669 records.

  92.    Because there is nothing inherently fraudulent with performing the

  procedures described herein, data resulting from this analysis and synthesis

  support these allegations but, by itself, this data did not "disclose" the allegations

  herein.


                                   VII.    Counts I - III


                   A.     Count I: Violations of 31 U.S.C. § 3729(a)(1)(A)

  Plaintiff repeats and realleges ^^1-92 above as if fully set forth herein.

  93.    Defendants knowingly presented or caused to be presented false or

  fraudulent claims for payment or approval to Government Health Care Programs,

  all in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A).

  94.    The United States paid said claims and has sustained damages because of

  these acts by the Defendants.

                  B.     Count II; Violations of 31 U.S.C. § 3729(a)(1)(B)

         Plaintiff repeats and realleges     1- 92 above as if fully set forth herein.




         Relator has not included this data an exhibit. The 9 million record part B file
  would require 27 million pages. If printed, 5,400 standard cartons. Stacked four high,
  and lined end to end, the cartons would stretch 6 1/2 football fields (1,969 feet).
  Each of the 55 million+ record shared patient data sets would require even more
  cartons.




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  95.   Defendants knowingly made, used or caused to be made, or used false

  records or statements material to a false or fraudulent claim, all in violation of the

  False Claims Act, 31 U.S.C. § 3729(a)(1)(B).

  96.   The United States paid said claims and has sustained damages because of

  these acts by the Defendant.

              C.    Violations of the Virginia Fraud Against Taxpayers Act

        Plaintiff repeats and realleges    1- 92 above as if fully set forth herein.

  97.   The Virginia Fraud Against Taxpayers Act imposes liability upon, inter alia,

  those who knowingly present or cause to be presented false claims for payment or

  approval, and those who make or use, or cause to be made or used, false records

  or statements material to a false claim, Va. Code Ann. § 8.01-216.3(A)(1)-(A)(2).

  98.   Defendants' actions, if known, would have affected Virginia's decision to

  pay the resulting claims.

  99.   Defendants' actions violated material conditions of payment under

  Virginia's healthcare program.

  100. By virtue of the acts described above. Defendants knowingly caused to be

  presented false or fraudulent claims to Virginia for payment or approval. Va. Code

  Ann. §8.01-216.3(A)(1).

  101. By virtue of the acts described above. Defendants knowingly caused to be




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  made or used false records and statements to induce Virginia to approve and pay

  such false and fraudulent claims. Defendants acted knowingly, as that term is

  used in the False Claims Acts


  102. Virginia, unaware of the falsity of the records, statements and claims made,

  used, presented or caused to be made, used or presented by Defendants, paid

  claims that would not have been paid had Virginia been aware of Defendants'

  unlawful conduct.


  103. By reason of Defendants' concerted acts, Virginia has been damaged in a

  substantial amount to be determined at trial.




                                            PRAYER


        WHEREFORE, Qui Tarn Plaintiff Relator, for the United States, Virginia,

  and for herself, prays that judgment be entered against Defendant as follows:

        A.     For each count, the amount of damages, trebled as required by law,
               and civil penalties up to the maximum permitted by law,
        B.     For the maximum qui tarn percentage share allowed by law,
        C.     For attorney's fees, costs and reasonable expenses; and
        D.     For any and all other relief to which Plaintiffs may be entitled.

        Plaintiff requests trial by jury.




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                                        305 310 6046
                                        ik@FloridaFalseClaim.com

                                       Attorneys for Qui Tarn Plaintiff Relator

  This Complaint will not be served on Defendants until ordered by the Court.

  I HEREBY CERTIFY that the foregoing Complaint shall be mailed, postage
  prepaid, certified mail to:
  • Jeff Sessions III, Attorney General, United States Department of Justice, c/o
     Sealed Document Civil Process Clerk, 10th and Constitution, Washington,
     D.C. 20530;
  • G. Zachary Terwilliger       United States Attorney, 2100 Jamieson Ave.
     Alexandria, VA 22314.
  • Mark Herring, Office of the Attorney General, Attn: Seal Clerk, 900 East
     Main Street, Richmond, VA 23219.




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  And served via email only to Gerard Mene, Assistant United Sates Attorney,
  Gerard.Mene@usdoi.gov.




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